Case 3:20-ap-03007   Doc 141-24 Filed 12/14/21 Entered 12/14/21 16:43:55   Desc
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       EXHIBIT
       EXHIBIT 32
               24
        Case 3:20-ap-03007          Doc 141-24 Filed 12/14/21 Entered 12/14/21 16:43:55                           Desc
                                           Exhibit 24 Page 2 of 27
Message
From:          Brent Walls [brent.walls@walls-cpa.com]
Sent:          1/1/2018 7:04:58 PM
To:            Jeff Hoops [JHoops@revelenergy.com]
Subject:       Clearwater Investment; et al 2.018 Engagement Letter
Attachments:   EL- Clearwater Investments Holdings, et al.pdf


Jeff,

I hope you and your family have enjoyed the holidays. Please find attached the engagement letter for Clearwater
Investment Holdings, Triple H, Hoops Family Foundation, and the Hoops family members. This also includes Omni
Insurance Group. Please review and let me know if you have any questions, comments, or suggestions. The stated fee is
the approved $1,200 per month that we discussed previously for these entities/individuals.

If you approve of the engagement letter, please print and have Trish sign as the manager of Clearwater Investment
Holdings, LLC.

Thank you,

Brent T. Wails, CPA iVanaging Partner

\Vails 8‘, Associates, PLILC
1051 Main Street, Suite 100
Milton, WV 25541

T 304.-390-5971
D 304-390-5972
M. 304-972-2650
F 304-390-6006




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                                                                                                            DEBTORSUB_131058
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                       ASSOCIATES LLC
<seer
                       CERTIFIED PVELIC ACCOUNTANT


  January 1, 2018


  Patricia A. Hoops
  Clearwater Investment Holdings, LLC, et al
  1540 Gulf South Boulevard
  Clearwater, FL 33767

  Dear Patricia,

  This letter is to confirm our acceptance and our understanding of the terms and objectives of our
  engagement and the nature and limitations of the services we will provide to Clearwater
  Investment Holdings, LLC, Triple H Family LP, Omni Insurance Group, LLC, The Hoops Family
  Foundation, and the Hoops family, collective herein referred to as the "Hoops Entities" or the
  "Company".
  We will perform the following services:
  1) We will provide you with the following bookkeeping services:
        •   Reconcile checking account with bank statements each month.
        •   Record depreciation, as required.
        •   Analyze accounts payable and prepare checks as instructed and approved by management.
        •   Record all income and expenses, deposits, and adjusting entries needed each month.
        Our bookkeeping services will cover the year ended December 31, 2018
  2) We will prepare the financial statements of Clearwater Investment Holdings, LLC, which
     comprise the annual and monthly balance sheets and the related statements of income and
     changes in stockholders' equity, and cash flows for the year ended December 31, 2018 and
     2017, and perform a compilation engagement with respect to those financial statements. These
     financial statements will not include related notes to the financial statements as required by
     accounting principles generally accepted in the United States of America.
        The objective of the preparation and compilation portion of our engagement is to—
        •   Prepare financial statements in accordance with accounting principles generally accepted
            in the United States of America based on information provided by you and
        •   Apply accounting and financial reporting expertise to assist you in the presentation of
            financial statements without undertaking to obtain or provide any assurance that there are
            no material modifications that should be made to the financial statements in order for them
            to be in accordance with accounting principles generally accepted in the United States of
            America.

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    We will conduct our compilation engagement in accordance with the Statements on Standards
    for Accounting and Review Services (SSARS) promulgated by the Accounting and Review
    Services Committee of the AICPA and comply with applicable professional standards,
    including the ATCPA's Code of Professional Conduct, and its ethical principles of integrity,
    objectivity, professional competence, and due care, when performing the bookkeeping
    services, preparing the financial statements, and performing the compilation engagement.
    We are not required to, and will not, verify the accuracy or completeness of the information
    you will provide to us for the engagement or otherwise gather evidence for the purpose of
    expressing an opinion or a conclusion. Accordingly, we will not express an opinion or a
    conclusion nor provide any assurance on the financial statements.
    Our engagement cannot be relied upon to identify or disclose any financial statement
    misstatements, including those caused by fraud or error, or to identify or disclose any
    wrongdoing within the entity or noncompliance with laws and regulations.
    We, in our sole professional judgment, reserve the right to refuse to perform any procedure or
    take any action that could be construed as assuming management responsibilities.
    The financial statement preparation and compilation portion of the engagement to be
    performed is conducted on the basis that you acknowledge and understand that our role is to
    prepare financial statements in accordance with accounting principles generally accepted in
    the United States of America and assist you in the presentation of the financial statements in
    accordance with accounting principles generally accepted in the United States of America. You
    have the following overall responsibilities that are fundamental to our undertaking the
    engagement in accordance with SSARS:
    a) The selection of accounting principles generally accepted in the United States of America
       as the financial reporting framework to be applied in the preparation of the financial
       statements.
    b) The preparation and fair presentation of financial statements in accordance with accounting
       principles generally accepted in the United States of America and the inclusion of all
       informative disclosures that are appropriate for accounting principles generally accepted
       in the United States of America, if applicable.
    c) The design, implementation, and maintenance of internal control relevant to the preparation
       and fair presentation of the financial statements.
    d) The prevention and detection of fraud.
    e) To ensure that the Company complies with the laws and regulations applicable to its
       activities.
    O The accuracy and completeness of the records, documents, explanations, and other
      information, including significant judgments, you provide to us for the engagement.
    g) To provide us with—
        •   access to all information of which you arc aware is relevant to the preparation and fair
            presentation of the financial statements, such as records, documentation, and other
            matters.


Clearwater Investment Holdings                                              Walls & Associates, PLLC
January 1,2018                                                                            Page 2 of 6



                                                                                         DEBTORSUB_131060
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        •   additional information that we may request from you for the purpose of the compilation
            engagement.
        •   unrestricted access to persons within the Company of whom we determine it necessary
            to make inquiries.
    As part of our engagement, we will issue a compilation report that will state that we did not
    audit or review the financial statements and that, accordingly, we do not express an opinion, a
    conclusion, nor provide any assurance on them. We are not independent with respect to
    Clearwater Investment Holdings, LLC. We will disclose that we are not independent in our
    compilation report.
    If, for any reason, we are unable to complete the compilation of your financial statements, we
    will not issue a report on such statements as a result of this engagement.
    You agree to include our accountant's compilation report in any document containing financial
    statements that indicates that we have performed a compilation engagement on such financial
    statements and, prior to the inclusion of the report, to ask our permission to do so.
3) We will prepare all Federal and State tax returns, as required, for the Hoops' Entities for the
   year ended December 31, 2017 from the information you furnish us. For the purposes of this
   paragraph, the Hoops' Entities refers to the following:
        •   Jeffery A. Hoops, Sr. and Patricia A. Hoops' personal income tax return, which
            includes the following single member limited liability companies:
                o Clearwater Investment Holdings, LLC
                o Triple H Family LP
                o Triple H Aviation, LLC
                o Triple H Real Estate, LLC
                o JBLCO, LLC
                o Genesis Trucking, LLC
        •   Omni Insurance Group, LLC (an inactive Partnership)
        •   The Hoops Family Foundation (a Private Foundation)
        •   The following personal income tax returns, if required:
                o Jeffery Hoops, Jr. and Jessica Hoops
                o Jeremy Hoops and Lesley Hoops
                o Joshua Hoops and Amanda Hoops
                o Jameson Hoops
                o Journey Hoops
                o Abigail Hoops
                o Lilly Hoops
        •   Gift Tax Returns, if required, for Jeffery A. Hoops Sr. and Patricia A. Hoops

    We will not audit or otherwise verify the data you submit, although it may be necessary to ask
    you for clarification or additional data. It is your responsibility to provide us with all the
    information required for preparing complete and accurate returns.
    The objective of our tax services portion of the engagement is to prepare the tax returns in
    accordance with Statements on Standards for Tax Services issued by the AICPA and comply


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    with the AICPA' s Code of Profe-ssional Conduct, including the ethical principles of integrity,
    objectivity, professional competence, and due care.
    You are responsible for the safeguarding of assets, the proper recording of transactions in the
    books of accounts, the substantial accuracy of the financial records, and the full and accurate
    disclosure to us of all relevant facts affecting the returns. You also have final responsibility for
    the tax return and, therefore, the appropriate company officials should review the return
    carefully before an authorized officer signs and files it.
    If, during our work, we discover information that affects prior-year tax returns, we will make
    you aware of the facts. However, we cannot be responsible for identifying all items that may
    affect prior-year returns. If you become aware of such information during the year, please
    contact us to discuss the best resolution of the issue. We will be happy to prepare appropriate
    amended returns as a separate engagement.
    Our work in connection with the preparation of the tax returns does not include any procedures
    designed to discover defalcations or other irregularities, should any exist. The returns will be
    prepared solely from information provided to us without any verification by us.
    In accordance with federal law, in no case will we disclose your tax return information to any
    location outside the United States, to another tax return preparer outside of our firm for
    purposes of a second opinion, or to any other third party for any purpose other than to prepare
    your return without first receiving your consent.
    The Internal Revenue Code and regulations impose preparation and disclosure standards with
    noncompliance penalties on both the preparer of a tax return and on the taxpayer. To avoid
    exposure to these penalties, it may be necessary in some cases to make certain disclosures to
    you and/or in the tax return concerning positions taken on the return that do not meet these
    standards. Accordingly, we will advise you if we identify such a situation, and we will discuss
    those tax positions that may increase the risk of exposure to penalties and any recommended
    disclosures before completing the preparation of the return. If we conclude that we are
    obligated to disclose a position and you refuse to permit disclosure, we reserve the right to
    withdraw from the tax services portion of the engagement. Likewise, where we disagree about
    the obligation to disclose a position, you also have a right to choose another professional to
    prepare your return. In either event, you agree to compensate us for our services to the date of
    the withdrawal. Our engagement with you will terminate upon our withdrawal.
    The IRS permits you to authorize us to discuss, on a limited basis, aspects of your return for
    one year after the return's due date. Your consent to such a discussion is evidenced by checking
    a box on the return. Unless you tell us otherwise, we will check that box authorizing the IRS
    to discuss your return with us.
    Certain communications involving tax advice may be privileged and not subject to disclosure
    to the IRS. By disclosing the contents of those communications to anyone, or by turning over
    information about those communications to the government, you, your employees, or agents
    may be waiving this privilege. To protect this right to privileged communication, please consult
    with us or your attorney prior to disclosing any information about our tax advice. Should you
    decide it is appropriate for us to disclose any potentially privileged communication, you agree
    to provide us with written, advance authority to make that disclosure.



Clearwater Investment Holdings                                                 Walls & Associates, PLLC
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    Should we receive any request for the disclosure of privileged information from any third party,
    including a subpoena or IRS summons, we will notify you. In the event you direct us not to
    make the disclosure, you agree to hold us harmless from any expenses incurred in defending
    the privilege, including, by way of illustration only, our attorney's fees, court costs, outside
    adviser's costs, or penalties or fines imposed as a result of your asserting the privilege or your
    direction to us to assert the privilege.
    The returns may be selected for review by the taxing authorities. In the event of an audit, you
    may be requested to produce documents, records, or other evidence to substantiate the items
    of income and deduction shown on a tax return. Any proposed adjustments by the examining
    agent are subject to certain rights of appeal. In the event of a tax examination, we will be
    available, upon request, to represent you. However, such additional services are not included
    in our fees for preparation of the tax returns.
Other Relevant Information
You are responsible for all management decisions and responsibilities and for designating an
individual with suitable skills, knowledge, and experience to oversee our bookkeeping, financial
statement preparation, and tax services. You are responsible for evaluating the adequacy and
results of the services performed and accepting responsibility for such services.
Brent T. Walls, CPA is the engagement partner and is responsible for supervising the engagement
and signing the compilation report or authorizing another individual to sign it.
We estimate that our fees for the bookkeeping services and the financial statement preparation and
compilation will be $4,400, and the fees for the tax services will be $10,000. You will also be
billed for out-of-pocket costs such as report production, word processing, postage, travel, etc. The
fee estimate is based on anticipated cooperation from your personnel and the assumption that
unexpected circumstances will not be encountered during the work performed. If significant
additional time is necessary, we will discuss it with you and arrive at a new fee estimate before we
incur the additional costs. Our invoices for these fees will be rendered each month ($1,200 per
month, plus any billable out-of-pockets costs) and are payable on presentation.
In accordance with our firm policies, work may be suspended if your account becomes ninety (90)
days or more overdue and will not be resumed until your account is paid in full. If we elect to
terminate our services for nonpayment, our engagement will be deemed to have been completed
upon written notification of termination, even if we have not completed our report. You will be
obligated to compensate us for all time expended and to reimburse us for all out-of-pocket
expenditures through the date of termination.
You agree to hold us harmless and to release, indemnify, and defend us from any liability or costs,
including attorney's fees, resulting from management's knowing misrepresentations to us.
You may request that we perform additional services not contemplated by this engagement letter.
If this occurs, we will communicate with you regarding the scope of the additional services and
the estimated fee. We also may issue a separate engagement letter covering the additional services.
In the absence of any other written communication from us documenting such additional services,
our services will continue to be governed by the terms of this engagement letter.




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We appreciate the opportunity to be of service to you and believe this letter accurately summarizes
the significant terms of our engagement. If you have any questions, please let us know. If you
acknowledge and agree with the terms of our engagement as described in this letter, please sign
the enclosed copy and return it to us.


Sincerely,


Veva-               a4,J45iasot&J,, P1,46
Walls & Associates, PLLC



Acknowledged:




 Patricia A. Hoops, Manager
 Clearwater Investment Holdings, LLC




Clearwater Investment Holdings                                              Walls & Associates, PLLC
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Message
From:          JDavid Mills [JDavid.Mills@bankwithunited.com]
Sent:          1/3/2019 8:18:29 PM
To:            Jeff Hoops [Jeff.Hoops@blackjewel.us]; Brent Walls rbrent.walls@walls-cpa.com]
CC:            StacyA Miller 1-StacyA.Miller@banIcwithunited.com]
Subject:       RE: Clearwater Trust


Thank you Jeff.

Do we need to open a separate investment management account for Clearwater Trust in order to receive the $14,000
transfer from Clearwater Investment Holding to be applied to or will this continue to transfer to Dynasty Trust?

Dave

From: Jeff Hoops <Jeff.Hoops@blackjewel.us>
Sent: Thursday, January 03, 2019 3:14 PM
To: JDavid Mills <JDavid.Mills@bankwithunited.com>; Brent Walls <brent.walls@walls-cpa.com>
Cc: StacyA Miller <StacyA.Miller@bankwithunited.com>
Subject: RE: Clearwater Trust

Dave:

There is an entity Clearwater Trust, LLC, but it is just a holding company as there is an entity Clearwater Investment, LLC
that is the equivalent of Triple H Family, LP, it is not a Trust and that is the entity the assets in Triple H should transfer
over to and Hoops Dynasty Trust will stay the same and not be impacted by this restructuring.

The $650k in the Hoops Dynasty Trust will remain the same. Below is an org chart for the entities that are in place now,
hopefully this will help Thanks Jeff




 PATRIC!          JEFFERY                                                                              TRIPLE H
   AA                A.            REVELATIO             LEXINGTON              BLACKJEWE              FAMILY,
 HOOPS             HOOPS            N TRUST                TRUST                  L TRUST                 LP


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100.00%        100.00%           36.50%              89.00%                  99.00%          50%             50%
                                                                                             OMNI           BLACK
                                                  LEXINGTON                               INSURANC        DIAMOND
PERSONA       PERSONA        REVELATION              COAL              BLACKJEWEL,         E GROUP.       INSURANC
L ASSETS      L ASSETS       ENERGY, LLC          COMPANY                  LLC                LLC             E
  PH 2 in                      LIME ROCK                                                                   HEATHER
Clearwater,                  PARTNERS, LLC                                                JERRY NEAL       HAMMOND
  Florida     +$1mm IRA          62.50%         $40mm Trust Funds       +$400mm Assets       50%             25%

  $16mm                                                                                                     JACOBS
Investment                   JEFF HOOPS, SR.                                                              MANAGEMENT
 Account      +$600k 401-K         1%             +$125mm Cash              $1.5mm Cash                    GROUP 25%



                                                 JEFF HOOPS, SR.       JEFF HOOPS, SR.
    IRA                                                1%                    1%




                                                     30.00%                  30.00%
                                                                       BLACKJEWEL
                                                                       MARKETING
                                                      KEWA             & SALES, LLC
                                                     +$1BN
                                                  RECLAMATION
                                                   BOND FUND             30% UNIPER
                                                                         40% JAVELIN
                                                         I              COMMODITIES
                                                     100.00%
                                                CONSTRUCTIO
                                                    N&
                                                RECLAMATION
                                                SERVICES, LLC
                                                     +$1BN
                                                  RECLAMATION
                                                   BOND FUND
                                               STEVE POE, 25% NPI
                                                RAY DAUGHERTY,
                                                    24% NPI




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BL CKJEWEL
Jeff Hoops
Blackjewel L.L.C.
1051 Main Street
Milton, WV 25541

Email: jeff.hoops@blackjewel.us
Office: 304-390-5920



CI"
Fax: 304-290-5975
Cell: 304-541-2059

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From: JDavid Mills [mailto:JDavid.Mills@bankwithunited.corn]
Sent: Thursday, January 3, 2019 1:43 PM
To: Brent Walls <brent.walls@walls-cpa.com>; Jeff Hoops <Jeff.Hoops@blackjewel.us>
Cc: StacyA Miller <StacyA.Miller@bankwithunited.com>
Subject: RE: Clearwater Trust

Brent & Jeff,

Hoops Dynasty Trust is an investment management account held within our wealth management group. Just to be
clear, you are directing us to open a new investment management account in the name of Clearwater Trust and to have
the assets of the Dynasty Trust transferred over in kind. Correct?

Would you also like us to close the Dynasty IMA account out once the transfer has occurred?

Dave

From: Brent Walls <brent.walls@walls-cpa.com>
Sent: Thursday, January 03, 2019 11:38 AM
To: JDavid Mills <JDavid.Mills@bankwithunited.com>; Jeff Hoops <Jeff.Hoops@blackiewel.us>
Subject: RE: Clearwater Trust

I would assume Jeff would like to mirror how the Dynasty Trust is setup. I do not have access to Dynasty Trust as Jeff
maintains the accounting for that trust.

Thank you,

Brent T. Walls, CPA Managing Partner




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Milton, WV 25541

T 304-390-5971 ext
M 304-972-2650
F 304-390-6006


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From: JDavid Mills <JDavid.Mills@bankwithunited.com>
Sent: 01/03/2019 11:36 AM
To: Brent Walls <brent.walls@walls-cpa.com>; Jeff Hoops <Jeff.Hoops@blackiewel.us>
Subject: RE: Clearwater Trust

Do you want this as a traditional DDA or a MMA?

Dave

From: Brent Walls <brentwalls@walls-cpa.com>
Sent: Thursday, January 03, 2019 11:33 AM
To: JDavid Mills <JDavid.Mills@bankwithunited.com>; Jeff Hoops <Jeff.Hoops@blackiewel.us>
Subject: Clearwater Trust

Jeff/David,

We will also need to setup a new account for Clearwater Trust (FEIN           ) as this is the entity that owns 99% of
Clearwater Investment Holdings, LLC. It is setup the same as Hoops Family Dynasty Trust with the exception that Trish is
the 1% GP.

Jeff, I assume the $14,000 transfer each month will now come from Clearwater Investment Holdings to Clearwater
Trust?

Thank you,

Brent T. Walls, CPA Managing Partner

Walls & Associates, PLLC
1051 Main Street, Suite 100
Milton, WV 25541

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                                           Exhibit 24 Page 14 of 27
Message
From:          Brent Walls [Brent.Walls@CLEARWATER1H.us]
Sent:          1/28/2019 11:03:56 AM
To:            StacyA Miller [StacyA.Miller@bankwithunited.com]; Jeff Hoops [Jeff.Hoops@blackjewel.us];JDavid Milk
               [JDavid.Mills@bankwithunited.com]
Subject:       RE: Clearwater Investment


Let's keep that in Triple H for now,   get with Jeff this week and go over the cash flow for all of the various
entities. Will reach back out to you soon.

Thank you,

Brent T. Wails, CPA
Chief Financial Officer

Clearwater Investment Holdings, LIZ
1051 Main Street_ Suite 100
Milton, WV 25541

T 304-390-5971 ext
M.304-972-2650
F 304-390-6006

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From: StacyA Miller <StacyA.Miller@bankwithunited.com>
Sent: 01/28/2019 10:52 AM
To: Brent Wails <Brent.WallsC@CLEARWATERIFLus›; Jeff Hoops <Jeff.Hoops@blackjewei.us>; JDavid Milis
<JIDavid,Mills@bankwithunited.com>
Subject: RE: Clearwater Investment

Do you want the $500 from Triple H checking account moved to the Clearwater investment account?

StacyA. Miller
Vice President
Wealth Advisor
United Bank
Wealth Management
Po Box 393
Charleston, WV 25322
(o) 304.348.8349
(f) 304.348.8476
Email: stacya.miller©bankwithunited.com


United sank O your service

From: Brent Walls <Brent,WallseDCLEARWATERIKus>
Sent: Monday, January 28, 2019 9:50 AM
To: StacyA Miller <StacvA.Milieebankwithunited.com>; Jeff Hoops <.leff.Hoops@blackjewel.us>; JDavicl Mills
4David.MillsPbankwithunited.com>
Subject: RE: Clearwater Investment



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The Triple H account will become dormant as all activity is going through Clearwater now.

Thank you,

Brent T. Walls, CPA
     Fi.nancial Officer

Clearwater Investment Holdings,L1X:
1051 Main Street, Suite 100
Milton., WV 25541

T 304-390-597.1 ext
M. 304-972-2650
F 304-390-6006

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From: StacyA Miller <StacyA,MillerPbankwithunited,corn>
Sent: 01/28/2019 9:28 AM
To: Brent Walls <BrentAkialls@CLEARWATERIH.us>; Jeff Hoops <Jeff Hoops@blarkiewel.us>; JDavid Mills
<iDavid.M ills@bankwithunited.corn>
Subject: RE: Clearwater Investment

I thought Jeff was responding to Dave's email regarding the Triple H account balance to leave $500k.

Sorry, we can transfer funds back to the Clearwater operating account this morning.

Thanks,

StacyA. Miller
Vice President
Wealth Advisor
United Bank
Wealth Management
PO Box 393
Charleston, 11,IV 25322
(o 304.348.8349
(0 304.348.8476
Email: stacya.millerObankwithunited.com


United Bank @ yew service

From: Brent Walls <Brent,Walls@CLEARWATERIH.115>
Sent: Monday, January 28, 2019 9:14 AM
To: Jeff Hoops <Jeff,HoopsiDblackjewel,us>; StacyA Miller <StacyA,Miller@bankwithunited,corn>; JDavid Mills
<iDavid.Mills(6)bankwithunited.corn>
Subject: RE: Clearwater Investment

Stacy,




                                                                                                       DEBTORSU 6_078999
       Case 3:20-ap-03007           Doc 141-24 Filed 12/14/21 Entered 12/14/21 16:43:55                       Desc
                                           Exhibit 24 Page 16 of 27
I thought we were going to leave $500K in the Clearwater operating account per Jeff's instructions below? It appears
you have transferred the entire $11mm over to the investment account, leaving approximately $104K in the operating
account. We will be issuing a $192K check today for materials at the resort and will need to transfer funds from
Clearwater to Grand Patrician Resort to cover this expense. Please advise.

Thank you,

Brent Tr . Walls, CPA
Chief Financial Officer

Clearwater Investment Holdings„ 1.,LE
1051 Main Street, Suite 100
Milton, WV 25541

T 304-390-5971. ext. *
M 304-972-2650
F 304-390-6006

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From: Jeff Hoops <Jeff.Hoopseblackjewelms>
Sent: 01/25/2019 8:19 AM
To: Brent Walls <Brent.Walls@ .LEARWATE Fi,us>; StacyA Miller <StacyA.Mil         -@bankwithimiteci,con-1>; JDavid Mills
<JDavid.MillsPbankwithunited,corn>
Subject: RE: Clearwater Investment

Thanks, will let you know when we get meeting arranged        Jeff




BLACKIEWEL
JeffHeaps
Blackjewel
1051 Main Street
Milton, WV 2.5541

Email: jeff.hoops@blackjewel.us
Office: 304-390-5920
Fax: 304-290-5975
Cell: 304-541-2059
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From: Brent Walls [mailto:Brent,Walls@CLEARWATERI /Luis]
Sent: Thursday, January 24, 2019 1:17 PM
To: StacyA Miller <StacyA.Miller@bankwithunited.com>; Jeff Hoops <Jeff.HoopsP blackjewel.us>; JDavid Mills
<1David.Mills@lyankwithunitedocorn>
Subject: RE: Clearwater Investment




                                                                                                         DEBTORSUB_079000
       Case 3:20-ap-03007           Doc 141-24 Filed 12/14/21 Entered 12/14/21 16:43:55                     Desc
                                           Exhibit 24 Page 17 of 27
Thank you, Stacy.

Jeff, please let me know if you would like for me to join the meeting with Steve and Stacy.

Thank you,

Brent T. Walls, CPA.
(.7hizf frinancial Officer

Clearwater Investment Holdings, 1.,I.:C
1051 Main Street, Suite 100
Milton, WV :25541

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M 304-972-2650
F 304-390-6006

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From: StacyA Miller <StacyA,Miller@ban withunited,com>
Sent: 01/24/2019 1:12 PM
To: Jeff Hoops <JeffiloopsPblackjewel.us>; JDavid Mills <JDavid.Millsebankwi hureed.com>
Cc: brent.walls(b)walls-c.pacom
Subject: RE: Clearwater Investment

Good Afternoon All,

The assets have been transferred to the new Clearwater investment account and the current balance is $ 14,693,365.05.

As mentioned before, Steve and I will meet with Jeff in the next week or so to discuss investment strategy for the
current holdings and new cash.

Thanks,

StacyA. Miller
Vice President
Wealth Advisor
United Bank
          Manadement
PO Box 393
Charleston, WV 25322
Co) 304.348.8349
(1) 304.348.8476
Email: stacya.millergbankwithunited.com


(inked Bank (4) your senke

From: Jeff Hoops <ieffiloopse lac lewel.us>
Sent: Wednesday, January 23, 2019 1:23 PM
To: JDavid Mills <JDavi orViills@bankwithunite .corn>; StacyA Miller <StarvA«Millerebankwithunited.com>




                                                                                                      DEBTORSUB_079001
         Case 3:20-ap-03007         Doc 141-24 Filed 12/14/21 Entered 12/14/21 16:43:55                       Desc
                                           Exhibit 24 Page 18 of 27
Cc: brentwalls@walls-cpa.com
Subject: RE: Clearwater Investment

Thanks, probably want to leave $500k in that account, then as it builds up to $1mm we will move it in S500k increments
to the investment side    Thanks    Jeff




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JetfHoop
Blackjewel
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Email: ieff.hoops@blackjewel.us
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Fax: 304-290-5975
Cell: 304-541-2059




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From: JDavid Mills [mailto:JDavidAelills@bankwithunited‘corn]
Sent: Wednesday, January 23, 2019 1:03 PM
To: Jeff Hoops <Jeff,Hoops(dthlackiewel.us>; StacyA Miller <StacyA,Millerrubankwithunited,corn>
Cc: bren .wal s@walls-cpa.com
Subject: RE: Clearwater Investment

Jeff and Stacy,

The DDA for Triple H has approximately $1,686,094.47 currently assessible.

Dave


From: Jeff Hoops <Jeff.Hoops@blacklewelms>
Sent: Wednesday, January 23, 2019 12:56 PM
To: StacyA Miller <StzicyA.MillerPbankwithunited.com>; JDavid Mills <JDavid.Mills@bankwithunited,com>
Cc: brent,walls@walls-cpa.com
Subject: RE: Clearwater Investment

Brent:

Assume you are depositing the $11,1mm today in the Operating Account for Clearwater.

Stacy:




                                                                                                         DEBTORSUB_079002
        Case 3:20-ap-03007          Doc 141-24 Filed 12/14/21 Entered 12/14/21 16:43:55                       Desc
                                           Exhibit 24 Page 19 of 27
 think there is approximately $2mrn in a money market account at Triple H that will move over in addition to the Triple
H investment account, so a total of around $15mm will be available at Clearwater to invest once everything is in its
place... ..... Thanks—leff




     LP-,C:KjEWEL
afiliggps
Blackjewel
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Milton, WV 25541

Email: jeff,hoopseblackiewel.us
Office: 304-390-5920
Fax: 304-290-5975
Cell: 304-541-2.059
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  of Coal

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From: StacyA Miller [rnailto: 'tarvA,Millerepbankwithunited,comi
Sent: Wednesday, January 23, 2019 12:51 PM
To: Jeff Hoops <Jeftl-loops@blackjewel.us>; JDavid Mills <JDavid.iviills@bank.withunited.com>
Cc: brentwalls@walls-cpa.com
Subject: RE: Clearwater Investment

Jeff,

Are you expecting the $11mm to hit the Clearwater checking or investment account? I will watch for it and then Steve
Sears and I will run out to meet with you to discuss the strategy going forward. The $2.4mm Triple H assets are being
moved as we speak to the new account. Is there another source of funding to hit the $15-16mm total of qualifying
assets? This may have been an estimate.

Thanks,

Stacy A. Miller
Vice President
Wealth Advisor
United Bank
Wealth Management
PG Box 393
Chariestw,Wv 2532$
(0) 304.348.8349
(f) 304.348.8476
Email: stacya.miller@bankwithunited.com




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         Case 3:20-ap-03007         Doc 141-24 Filed 12/14/21 Entered 12/14/21 16:43:55                        Desc
                                           Exhibit 24 Page 20 of 27
L,na.bo a,k:,zw. @ vyour"


From: Jeff Hoops <Jeff.HooDs@blackjewei.us>
Sent: Wednesday, January 23, 2019 9:02 AM
To: JDavid Mills <1David.MsPbankwithunited,corn>
Cc brentwalisC•walls-cpa.corn; StacyA Miller <StacyA,Miller@bankwithunited.corn>
Subject: Clearwater Investment

Dave:

At your earliest convenience I would like to proceed with putting a facility in place for Clearwater Investment at 80% of
the qualifying assets, which as of today I believe will be around $15 —$16mm. I expect that sum to grow rather quickly
this year as we have several million in AR that appears will get paid this year as well as continued income from Active
Medical, Genesis Trucking, Black Diamond Insurance, and other investments. Again, my vision is to pay for the Grand
Patrician Resort out of cash flow, then as facilities are finished and come on line look at putting permanent long term
financing in place.

Also, I would like to leave my existing personal line in place, but I have a $3mm note I am holding that should get paid off
this year and will use those funds to pay off the current balance which is just over $1mm I believe.

Objective for Lines of Credit:

         Personal Line                 $8mm will stay in place
         Clearwater                    $12mm initial facility that will grow as investment fund grows.

Stacy:

There should be a deposit for $11mm hit the Clearwater account this week and I would like to revisit my investments
here and develop a strategy going forward for putting these new funds to work similar to my personal investment
account. I expect to be adding several hundred thousand per quarter to this fund as we move through the
year         Thanks Jeff



     LA... CLIEW EL
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131ackjewe1 L. L.C.
1051 Main Street
Milton, WV 25541

Email: leff.hoops@blackiewel.us
Office: 304-390-5920
Fax: 304-290-5975
Cell: 304-541-2059



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                                                                                                     Exhibit 24 Page 21 of 27


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                                           Exhibit 24 Page 22 of 27
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                Case 3:20-ap-03007       Doc 141-24 Filed 12/14/21 Entered 12/14/21 16:43:55                         Desc
                                                Exhibit 24 Page 23 of 27
        From:                    Brent Walls <brent.walls@walls-cpa.com>
        To:                      Jeff Hoops
        Sent:                    12 -Sep-18 12:07:37 PM
        Subject:                 RE: W&A Loans




        Jeff,

        I am more than happy with the direction things are going and am seeing the big picture more clearly every
        day. You have been more than fair to me and continue to surprise me with the opportunities you bring. The
        projects you are working on, the businesses we are growing, the impact on the local communities, the fact
        we have grown W&A into a $1mm practice, and the list goes on. Our partnership and working relationship is
        what I want. I would like to stay the course with our current plan and seize any discussions about
        refinancing your loan. I am learning more and more from you as we work closer together, you have decades
        of experience that I want to learn from. There is so much value in that all by itself. W&A may not be the
        cash generator for either one of us yet, but I have faith that it will get there, in due time.

        My gut is telling me this is the right decision for me and hope you feel the same. I look forward to what we
        can accomplish together.

        Thank you,

        Brent T. Walls, CPA Managing Partner

        Walls & Associates, PLLC
        1051 Main Street, Suite 100
        Milton, WV 25541

        T 304-390-5971
        D 304-390-5972
        M 304-972-2650
        F 304-390-6006




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        From: Jeff Hoops <Jeff.Hoopsgblackjewel.us>
        Sent: 09/11/2018 4:57 PM
        To: Brent Walls <brent.wallsgwalls-cpa.com>
        Subject: RE: W&A Loans

        Brent:

        I understand your thinking completely and just want you to be happy with whatever you do as life is too short
        to be in a partnership or situation that does not work for you or you feel is unfair. I just want what is best for
        you, so whatever decision you make is fine with me and if you want to down the path we have laid out, I am
        fine with it, just sleep on it, look at all of the various options and make sure that is what you want to
        do       Thanks... Jeff



        .BLAC_X.TEWE
        Jeff Hoops
        Blackjewel L.L.C.
        1051 Main Street


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                Case 3:20-ap-03007         Doc 141-24 Filed 12/14/21 Entered 12/14/21 16:43:55                              Desc
        Milton, WV 25541                          Exhibit 24 Page 24 of 27
        Email: jeff.hoopsnblackjewel.us
        Office: 304-390-5920
        Fax: 304-290-5975
        Cell: 304-541-2059

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        From: Brent Walls [mailto:brent.walls@walls-cpa.corn]
        Sent: Tuesday, September 11, 2018 3:33 PM
        To: Jeff Hoops <Jeff.Hoopsablackjewel.us>
        Subject: RE: W&A Loans

        Jeff,

        I would like to stay as is. I was originally trying to find ways to free up cash for Clearwater, but see now that
        the 10% is a way to bring value to you as VV&A is not the cash generator that your other businesses are. I
        do not want to hinder our relationship as I am seeing the big picture more clearly every day and want to
        continue bringing value to your businesses. As I stated last night, I would much rather pay you the interest
        then Chase. You have treated me more than fairly and I apologize for bringing this up. I promise not to bring
        it up again.

        Thank you,

        Brent T. Walls, CPA Managing Partner

        Walls & Associates. PLLC
        1051 Main Street, Suite 100
        Milton, VVV 25541

        T 304-390-5971
        D 304-390-5972
        M 304-972-2650
        F 304-390-6006




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        From: Jeff Hoops <Jeff.Hoopsgblackjewel.us>
        Sent: 09/11/2018 3:19 PM
        To: Brent Walls <brent.walls©walls-cpacom>
        Subject: RE: VV&A Loans

        Brent:

        I gave this some thought as I certainly understand how you arrived at this proposal from your perspective
        and here are my thoughts from my perspective:

                     1.   Recently I agreed to restructure our arrangement in a manner that increases your
                     compensation from $60,000 to $90,000 per year plus a vehicle allowance, so clearly a benefit to
                     you personally that dilutes my profits from VV&A
                     2.   While cash flow is always a challenge in any business, you do own 50% of a business that


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               Case 3:20-ap-03007          Doc 141-24         Filed 12/14/21         Entered 12/14/21 16:43:55              Desc
                    is probably worth $1 mm today,Exhibit
                                                       if you want
                                                               24 to Page
                                                                     sell it with
                                                                              25 no  risk, with me providing a baseload of
                                                                                  of 27
                    business and financing a no risk to you. If you shutdown tomorrow and take another job I am out
                    $340,000 and you lose nothing.
                    3.    Here are the options as I see them and I am fine with either of them:
                            a.    You can do SBA Loan for full amount and I will agree in a meltdown that I would be
                            responsible for 50% of the balance
                            b.    You can do SBA Loan for half of the amount and you contribute it, repay 50% of my
                            loans and I will contribute the other 50%
                                     At this point any free cash flow would be distributed 50/50 and you would use your
                                     share to service your SBA Loan
                            c.    Can stay as is
                            d.    It seems like we are visiting this issue fairly often and I really do not enjoy this part of
                           the business and am willing to offer up going our separate ways, I will make the loan
                            interest free and you can have 100% of the business as the way you lay things out makes
                            me feel like I am not being fair to you, yet I feel like I have done as much or more than I
                            promised going in to the deal. I will find an accountant and would be happy to send my tax
                            business to you as there are no hard feelings, but just seems like you are not satisfied and
                            looking for more. You are building a lot of value, but unfortunately it is not the cash
                            generator that Genesis, Active Medical or Black Diamond are and I do not see that
                            changing anytime soon.
                                     Under this scenario it would seem to make sense for you to consolidate everything
                                     in Hamlin, which would work well as we are going to need more office space here
                                     in the near future.
                                     From my standpoint I do not see Walls & Associates as a big success for me, but I
                                     committed to it and have lived up to my end of the bargain.

        Please do not take any of this wrong, as you state your positions in a matter of fact format and I am just
        doing the same. Your commitment to make progress comes out of my pocket and not from the business so
        difficult for me to see the attraction from my end. A 10% rate is low for an unsecured loan for a start-up
        business, so option d above gives you a way out and allows you to take 100% control of your destiny and I
        am totally fine with that option. I feel more and more on the defense with you these days as clearly you are
        not satisfied with the structure or adjustments we have made and I never want to be in a partnership where
        my partner feels like I have taken advantage of them and so my preference is to make it interest free and go
        our separate ways.

        I have way too much going on as you know to be consumed with dealing with restructuring our deal every
        month or so. Again, no hard feelings, but this would be a great outcome for you as you would immediately
        pick up $700,000 in equity and an interest free loan for $341,000     Thanks... .Jeff



        .B ACME WE L
        Jeff Hoops
        Blackjewel L.L.C.
        1051 Main Street
        Milton, WV 25541

        Email: jeff.hoops©blackjewel.us
        Office: 304-390-5920
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        From: Brent Walls [mailto:brent.wallsgwalls-cpa.com]
        Sent: Monday, September 10, 2018 10:04 PM

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                Case 3:20-ap-03007        Doc 141-24        Filed 12/14/21 Entered 12/14/21 16:43:55                  Desc
        To: Jeff Hoops <Jeff.Hoopsnblackjewel.us>
                                               Exhibit       24 Page 26 of 27
        Subject: W&A Loans

        Jeff,

        Here is the information we were discussing this evening:

            • As of today, W&A owes Clearwater Investments $41,566.65 on the initial $65,000 loan, plus the
              $300,000 loan to purchase the Hamlin practice. Total of $341,566.65. The first loan is zero percent
              interest and the $300K loan is 10% interest only as of right now. I have been paying approximately
              $1,000 to $1,500 a month toward the initial loan and $2,500 interest only payments per month on the
              second loan.
            • Back in July, Chase was offering the following:
                  O $348,000 term loan at 6.75% fixed rate, 10 year loan and amortization
                  O $50,000 Line of Credit at Prime +4%, terms after 3 years for 7 years (10 years total).
                  O They are also waiving the 3% fee due to my military service — a $12,000 savings.
                  o No other fees to refinance that I have been made aware of at this time.
            • Chase modified the amounts since July to increase the LOC and changed the rates due to their
              pricing/rating model. I cannot find where I wrote the updated figures and rates down... might be in one
              of my note books at the office.

        Jason called me on Friday to ask if you and I had a chance to discuss what we did tonight regarding the
        service agreements we have in place. I am indifferent as to whether we move forward with Chase or if you
        have other suggestions?

        My goal would be to make progress on the $341,566.65 owed to Clearwater and preferably at a lower
        interest rate than 10%. I will always be grateful for your continued trust in me and our vision at W&A as well
        as my new position at Clearwater. I am only looking at ways to improve our bottom line and make true
        progress on the debt at W&A as well as get funds back into Clearwater for your future projects and
        investments.

        I look forward to hearing your opinion on how to move forward as I trust and respect you 100%.

        Thank you,

        Brent T. Walls, CPA Managing Partner

        Walls & Associates, PLLC
        1051 Main Street, Suite 100
        Milton, WV 25541

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